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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


IN RE: Criminal Cases

      This matter is before the Court upon the Court's own motion:

       IT IS HEREBY ORDERED that government's exhibits in the case listed below are to be returned
to the United States Attorney for appropriate disposition.

      CASE NUMBER                                    CAPTION


      8:97CR85                                USA v. Frank Detamore
      8:98CR125 (Sealed                       USA v. Dwayne Blackson
      8:00CR109 (Sealed)                      USA v. George Miranda, Joahnie
                                              Escamilla
      8:01CR261                               USA v. Kerry L. Baker
      8:01CR315 (Drugs)                       USA v. Francisco Beltran-Hernandez
      8:03CR85 (Sealed)                       USA v. Stacie O. Edmonson
      8:04CR187 (Sealed)                      USA v. Cory G. Neumeyer
      8:05CR49 (Sealed)                       USA v. Arturo Johnson, Wendy Buckhalter
      8:06CR42 (Sealed)                       USA v. Adrian Hudson




      DATED this 25th day of June, 2007.


                                              BY THE COURT

                                              s/Joseph F. Bataillon
                                              United States District Judge
